Case 18-51122-pmb        Doc 16    Filed 06/29/18 Entered 06/29/18 09:43:14       Desc Main
                                  Document      Page 1 of 11


                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      (            CHAPTER 13
                                            (
RAVEN IMANI RABIA,                          (            CASE NO. 18-51122-PMB
                                            (
         DEBTOR.                            (


              DEBTOR'S AMENDMENT TO CHAPTER 13 SCHEDULES AND
                          SUMMARY OF SCHEDULES

       COMES NOW Debtor and amends the Chapter 13 Schedules to provide the
following:


         1.      Debtors amend Schedule I, as attached, to update the Debtor’s current
                 monthly income.

         2.      Debtors amend Schedule J, as attached, to update the Debtor’s current
                 monthly expenses.

         3.      Debtor amends the Summary of Schedules to reflect the changes listed
                 above.


         WHEREFORE, Debtor prays that this Amendment be allowed, and for such other

and further relief as the Court deems appropriate and just.

Respectfully submitted,
                                                   Done, this 29th day of June 2018

                                                   /s/ Vincent Capomacchia
                                                   Vincent Capomacchia
                                                   Ga. Bar No.772547
                                                   The Semrad Law Firm, LLC
                                                   303 Perimeter Center North
                                                   Suite 201
                                                   Atlanta, GA 30346
                       Case 18-51122-pmb                         Doc 16            Filed 06/29/18 Entered 06/29/18 09:43:14                                       Desc Main
                                                                                  Document      Page 2 of 11
 Fill in this information to identify your case:
 Debtor 1               Raven                                   Imani                            Rabia
                        First Name                              Middle Name                      Last Name
 Debtor 2
 (Spouse, if filing)    First Name                              Middle Name                      Last Name

 United States Bankruptcy Court for the:              Northern                            District of Georgia
                                                                                                      (State)
 Case number            18-51122
 (If known)
                                                                                                                                                                             Check if this is an
                                                                                                                                                                             amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:       Summarize Your Assets

                                                                                                                                                        Your assets
                                                                                                                                                        Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                 $0.00
     1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................
                                                                                                                                                                 $17,825.00
      1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                 $17,825.00
      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................


 Part 2:       Summarize Your Liabilities

                                                                                                                                                        Your liabilities
                                                                                                                                                        Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                 $15,054.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                     $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................
                                                                                                                                                                 $9,660.00
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                             Your total liabilities              $24,714.00



 Part 3:       Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                 $2,800.00
     Copy your combined monthly income from line 12 of Schedule I .........................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                 $2,350.00
     Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




  Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 1


                                                                                                                                    Doc ID: cf51a1645097fe225f9044871b218acbc7c1331c
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Debtor 1 Raven                               Imani                     Rabia                        Case number (if known) 18-51122
            First Name                       Middle Name               Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes.

7. What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                  $531.17
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                         Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                       $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
     priority claims. (Copy line 6g.)
                                                                                                              $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

     9g. Total. Add lines 9a through 9f.                                                                      $0.00




 Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                                                                                                         Doc ID: cf51a1645097fe225f9044871b218acbc7c1331c
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Fill in this information to identify your case:
Debtor 1              Raven                     Imani                   Rabia
                      First Name                Middle Name             Last Name                          Check if this is:
Debtor 2
(Spouse, if filing)   First Name                Middle Name             Last Name                             An amended filing

United States Bankruptcy Court for      Northern                   District of Georgia                          A supplement showing post-petition chapter 13
the:                                                                                                            expenses as of the following date:
                                                                               (State)
Case number 18-51122
(If known)                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include
information about your spouse. If you are separated and your spouse is not filing with you, do not include information about your
spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1: Describe Employment


 1. Fill in your employment                                           Debtor 1                                     Debtor 2
    information.
                                        Employment status                Employed                                     Employed
     If you have more than one job,
     attach a separate page with                                         Not Employed                                 Not Employed
     information about additional
     employers.                         Occupation                   Self-employment
     Include part time, seasonal, or    Employer's name
     self-employed work.
                                        Employer's address
     Occupation may include student                                   Number Street                                Number Street
     or homemaker, if it applies.




                                                                      City                State   Zip Code         City                State   Zip Code

                                        How long employed
                                        there?


 Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
 spouse unless you are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
 more space, attach a separate sheet to this form.
                                                                                         For Debtor 1             For Debtor 2 or
                                                                                                                  non-filing spouse
   2. List monthly gross wages, salary, and commissions (before all payroll      2.                 $0.00
      deductions.) If not paid monthly, calculate what the monthly wage would
      be.
   3. Estimate and list monthly overtime pay.                                    3.                + $0.00
   4. Calculate gross income. Add line 2 + line 3.                               4.                     $0.00




   Official Form 106I                                             Schedule I: Your Income                                                      page 1

                                                                                                  Doc ID: cf51a1645097fe225f9044871b218acbc7c1331c
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Debtor 1Raven                              Imani                      Rabia                       Case number (if         18-51122
         First Name                        Middle Name                Last Name                   known)
                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                   non-filing spouse

  Copy line 4 here                                                                4.                   $0.00
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                              5a.                  $0.00
   5b. Mandatory contributions for retirement plans                               5b.                  $0.00
   5c. Voluntary contributions for retirement plans                               5c.                  $0.00
   5d. Required repayments of retirement fund loans                               5d.                  $0.00
   5e. Insurance                                                                  5e.                  $0.00
   5f. Domestic support obligations                                               5f.                  $0.00
   5g. Union dues                                                                 5g.                  $0.00
   5h. Other deductions. Specify:                                                 5h. +                $0.00 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g          6.                   $0.00
+5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.            7.                   $0.00

8. List all other income regularly received:
   8a. Net income from rental property and from operating a
       business, profession, or farm
       Attach a statement for each property and business showing
       gross receipts, ordinary and necessary business expenses, and
       the total monthly net income.                                              8a.             $2,800.00
   8b. Interest and dividends                                                     8b.                  $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance,
       divorce settlement, and property settlement.                               8c.                  $0.00
   8d. Unemployment compensation                                                  8d.                  $0.00
   8e. Social Security                                                            8e.                  $0.00
   8f. Other government assistance that you regularly receive
       Include cash assistance and the value (if known) of any non-
       cash assistance that you receive, such as food stamps (benefits
       under the Supplemental Nutrition Assistance Program) or
       housing subsidies
       Specify:
                                                                                  8f.                  $0.00
   8g. Pension or retirement income                                               8g.                  $0.00
   8h. Other monthly income. Specify:                                             8h. +                $0.00 +
9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.               $2,800.00

10.Calculate monthly income. Add line 7 + line 9.                                 10.              $2,800.00 +                         =              $2,800.00
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
   Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
   Specify:                                                                                                                            11. +               $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                  12.
   Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                       $2,800.00
                                                                                                                                               Combined
                                                                                                                                               monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

        Yes. Explain:




  Official Form 106I                                                 Schedule I: Your Income                                                      page 2

                                                                                                       Doc ID: cf51a1645097fe225f9044871b218acbc7c1331c
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Debtor 1Raven                               Imani                     Rabia                         Case number (if   18-51122
         First Name                         Middle Name               Last Name                     known)
Official Form 106I. Additional page.
8a.Net income from rental property and from operating a business, profession, or farm

 8a.1 Business and Self Employment - 1099                    Debtor 1             Debtor 2
   Gross receipts (before all deductions)                    $2,800.00
   Ordinary and necessary operating expenses                 -$0.00           -
   Net monthly income from a business, profession, or        $2,800.00                       Copy   $2,800.00
   farm                                                                                      here




  Official Form 106I                                              Schedule I: Your Income                                               page 3
                                                                                                        Doc ID: cf51a1645097fe225f9044871b218acbc7c1331c
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 Fill in this information to identify your case:
 Debtor 1               Raven                            Imani                        Rabia
                        First Name                       Middle Name                  Last Name
                                                                                                                     Check if this is:
 Debtor 2
 (Spouse, if filing)    First Name                       Middle Name                  Last Name                          An amended filing

 United States Bankruptcy Court for the:          Northern                       District of Georgia                     A supplement showing post-petition chapter 13
                                                                                                                         expenses as of the following date:
                                                                                             (State)
 Case number            18-51122
 (If known)                                                                                                              MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses                                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
 Part 1:       Describe Your Household
 1. Is this a joint case?

              No. Go to line 2

              Yes. Does Debtor 2 live in a separate household?

                         No

                         Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                 No
    Do not list Debtor 1 and                Yes. Fill out this information for     Dependent's relationship to          Dependent's          Does dependent live
    Debtor 2.                               each dependent                         Debtor 1 or Debtor 2                 age                  with you?
 3. Do your expenses include
    expenses of people other                No
    than
    yourself and your                       Yes
    dependents?

 Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                              Your expenses
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                            $1,335.00
      any rent for the ground or lot. 4.                                                                                                       4.
       If not included in line 4:
       4a. Real estate taxes                                                                                                                   4a                   $0.00
       4b. Property, homeowner's, or renter's insurance                                                                                       4b.                   $0.00
       4c. Home maintenance, repair, and upkeep expenses                                                                                      4c.                   $0.00
       4d. Homeowner's association or condominium dues                                                                                        4d.                   $0.00




     Official Form 106J                                                      Schedule J: Your Expenses                                                     page 1


                                                                                                                 Doc ID: cf51a1645097fe225f9044871b218acbc7c1331c
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Debtor 1 Raven                              Imani                        Rabia                      Case number (if known) 18-51122
          First Name                        Middle Name                  Last Name


                                                                                                                                               Your expenses
5. Additional mortgage payments for your residence, such as home equity loans                                                          5.                  $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                                 6a.                 $95.00
   6b. Water, sewer, garbage collection                                                                                               6b.                  $0.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                                 6c.              $200.00
   6d. Other. Specify:                                                                                                                 6d                  $0.00
7. Food and housekeeping supplies                                                                                                      7.              $282.00
8. Childcare and children's education costs                                                                                           8.                   $0.00
9. Clothing, laundry, and dry cleaning                                                                                                9.                  $45.00
10. Personal care products and services                                                                                               10.                 $35.00
11. Medical and dental expenses                                                                                                       11.                 $25.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                      12.              $200.00
    Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                                13.                  $0.00
14. Charitable contributions and religious donations                                                                                  14.                  $0.00
15. Insurance.
   Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                                15a                  $0.00
   15b. Health insurance                                                                                                              15b                  $0.00
   15c. Vehicle insurance                                                                                                             15c              $133.00
   15d. Other insurance. Specify:                                                                                                     15d                  $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                                $0.00
                                                                                                                                       16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                                    17a                  $0.00
   17b. Car payments for Vehicle 2                                                                                                    17b                  $0.00
   17c. Other. Specify:                                                                                                               17c                  $0.00
   17d. Other. Specify:                                                                                                               17d                  $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                                            $0.00
    your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                                 18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                                           19.                  $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                                   20a                  $0.00
   20b. Real estate taxes.                                                                                                            20b                  $0.00
   20c. Property, homeowner's, or renter's insurance                                                                                  20c                  $0.00
   20d. Maintenance, repair, and upkeep expenses.                                                                                     20d                  $0.00
   20e. Homeowner's association or condominium dues                                                                                   20e                  $0.00




  Official Form 106J                                                    Schedule J: Your Expenses                                                page 2
                                                                                                        Doc ID: cf51a1645097fe225f9044871b218acbc7c1331c
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Debtor 1 Raven                            Imani                     Rabia                       Case number (if known) 18-51122
         First Name                       Middle Name               Last Name

21.Other. Specify:                                                                                                          21                  $0.00

22. Calculate your monthly expenses.                                                                                                      $2,350.00
   22a. Add lines 4 through 21.                                                                                                               $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                   $2,350.00
   22c. Add line 22a and 22b. The result is your monthly expenses.                                                          22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                       23a            $2,800.00
   23b. Copy your monthly expenses from line 22 above.                                                                     23b            $2,350.00
   23c. Subtract your monthly expenses from your monthly income.                                                                              $450.00
        The result is your monthly net income.                                                                             23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        No

        Yes

                 Explain here:




  Official Form 106J                                               Schedule J: Your Expenses                                           page 3
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                                                               Document     Page 10 of 11
 Fill in this information to identify your case:
 Debtor 1               Raven                       Imani                 Rabia
                        First Name                  Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name           Last Name

 United States Bankruptcy Court for the:     Northern                District of Georgia
                                                                                 (State)
 Case number            18-51122
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106Dec                                                                                                                             amended filing


Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

              Yes. Name of person                                          Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                           Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    /s/ Raven Rabia
             of Debtor 1
                                                                                  û Signature of Debtor 2
       Date 6/21/2018                                                                  Date
            MM/DD/YYYY                                                                        MM/DD/YYYY




   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                        page 1


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                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                   (             CHAPTER 13
                                         (
RAVEN IMANI RABIA,                       (             CASE NO. 18-51122-PMB
                                         (
         DEBTOR.                         (


                            CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that I am more than 18 years of age, and
that on this day; I served a copy of the foregoing amended schedules upon the following
by depositing a copy of the same in U.S. Mail with sufficient postage affixed thereon to
ensure delivery:

Raven Imani Rabia
1000 Barone Ave.
Atlanta, GA 30329




      I further certify that, by agreement of parties, Melissa J. Davey, standing Chapter
13 Trustee, was served via the ECF electronic mail/noticing system.

                                         Done, this 29th day of June 2018

                                                /s/ Vincent Capomacchia
                                                Vincent Capomacchia
                                                Ga. Bar No.772547
                                                The Semrad Law Firm, LLC
                                                303 Perimeter Center North
                                                Suite 201
                                                Atlanta, GA 30346
